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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY

In re:                                                   ) Chapter 11
                                                         )
Inmet Mining, LLC                                        ) Case No.: 23-70113-grs
                                                         )
Debtor.                                                  ) Honorable: Gregory R. Schaff

    INTERIM ORDER ON MOTION FOR ENTRY OF AN ORDER AUTHORIZING, BUT
      NOT DIRECTING, THE DEBTOR TO: (I) CONTINUE INSURANCE COVERAGE
     ENTERED INTO PRE-PETITION; AND (II) MAINTAIN THE PAYMENT AND USE
             OF PRE-PETITION SURETY BONDS ON MINING PERMITS

         This came before this Court upon the motion (the “Motion”)1 of the Debtor for entry of an

interim order: (i) authorizing the Debtor to continue pre-petition insurance policies and programs

by making monthly premium payments; and (ii) authorizing the Debtor to maintain the payment

and use of pre-petition surety bonds on mining permits; and appearing that the relief requested is

in the best interests of the Debtor’s estate, its creditors, and other parties in interest; and it

appearing that this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

and it appearing that this Motion is a core proceeding pursuant to 28 U.S.C. § 157; and adequate

notice of the Motion and opportunity for objection having been given, with no objection or requests

for hearing having been filed, or all objections having been overruled, as the case may be; and it

appearing that no other notice need be given; and after due deliberation and sufficient cause

therefore, it is hereby:

         1.      ORDERED that the Motion is GRANTED; and it is further

         2.      ORDERED that the Debtor is authorized, but not directed, in the reasonable

exercise of its business judgment, to: (i) continue insurance coverage currently in effect; (ii)

maintain the payment and use of pre-petition surety bonds on mining permits; and (iii) continue



1
         Capitalized terms used but not defined herein shall have the same meanings ac
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pre-petition insurance policies and programs by making monthly premium payments; and it is

further

          3.   ORDERED that the banks and financial institutions on which checks were drawn,

or electronic payment requests were made in payment of pre-petition obligations approved herein,

are authorized and, if directed by the Debtor, to receive, process, pay and honor all such checks

and electronic payment requests presented for payment, and all such banks and financial

institutions are authorized to rely on the Debtor’s designation of any particular check or electronic

payment request as being approved by this Order; and it is further

          6.   ORDERED that the Debtor is authorized to issue post-petition checks, or to affect

post-petition fund transfer requests, in replacement of any checks or fund transfer requests that are

dishonored or rejected; and it is further

          7.   ORDERED that nothing in the Motion or this Order, nor as a result of the Debtor’s

payment of any pre-petition amounts pursuant to this Order, shall be deemed or construed as an

admission as to the validity or priority of any claim against the Debtor or an approval or assumption

of any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; and it is

further

          8.   ORDERED that, notwithstanding anything to the contrary contained herein, (a) any

payment to be made, or authorization contained hereunder, shall be subject to the requirements

imposed on the Debtor under the Debtor’s post-petition financing facility (the “DIP Facility”), or

budget in connection therewith, or any order regarding the use of cash collateral, and (b) to the

extent that any payment to be made pursuant to this Order is treated as an administrative expense

of the Debtor’s chapter 11 estate, such claim shall be subject and subordinate to the priorities,

liens, claims and security interests, if any, of the lenders under the DIP Facility; and it is further
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        9.       ORDERED that the Debtor is authorized and empowered to take all actions

necessary to implement the relief granted in this Order; and it is further

        10.      ORDERED that the requirements set forth in Federal Rule of Bankruptcy Procedure

6003 are satisfied by the contents of the Motion or otherwise deemed waived; and it is further

        11.      ORDERED that notice of the Motion as provided therein shall be deemed good and

sufficient notice of such motion and the requirements of Federal Rule of Bankruptcy Procedure

6004 and the Local Bankruptcy Rules are satisfied by such notice; and it is further

        12.      ORDERED that notwithstanding, among other things, Bankruptcy Rule 6004, the

terms and conditions of this Order shall be immediately effective and enforceable upon its entry;

and is further

        13.      ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation of this Order; and it is further

        14.      ORDERED that this Order is being entered on an interim basis and that any

party having an objection to the entry of a final order granting the Motion must file such

objection, in writing, with this Court on or before _____, 2023 at 4:00 p.m. (prevailing

Eastern Time) and serve such objection in accordance with the Federal Rules of Bankruptcy

Procedure and the Local Rules. If no objections are timely filed, the Court may enter a final

order granting the requested relief without further hearing or notice. If an objection is

timely filed, the Motion and objection shall be set for final hearing on _____________, 2023

at ___:___ a.m./p.m. (prevailing Eastern Time) before the United States Bankruptcy Court

for the Eastern District of Kentucky, 100 East Vine Street, Suite 200, Courtroom _____,

Lexington, Kentucky 40507.
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TENDERED BY:


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-and-

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PROPOSED ATTORNEYS FOR
DEBTOR AND DEBTOR-IN-POSSESSION
